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IN THE UNITED STA'I`ES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLlNOIS
EASTERN DIVISION

 

LABORERS’ PENSION FUND and )
LABORERS’ WELFARE FUND OF THE )
HEALTH AND WELFARE DEPARTMENT )
OF THE CONSTRUCTION AND GENERAL )
LABORERS’ DISTRICT COUNCIL OF )
CHICAGO AND VICINITY, and JAMES S. )
JORGENSEN, Administrator of the Funds, )
)
Plaintiffs, )
) Case No. 11 CV 3568

v. )

) Judge Robert W. Gettleman
CREATIVE DESIGN )
CONSTRUCTION, INC. )
)
Defendant. )

ORDER FOR DAMAGES

 

This cause coming before the Court on the plaintiffs’ Motion for Damages, With due notice
having been given to the defendant, and the Court having found that the defendant has been properly
served with summons and complaint

IT IS HEREBY ORDERED:

Judgment is entered on behalf of the Laborers’ Pension and Welfare Funds and against
defendant Creative Design Construction, Inc., in the total amount of $20,848.54 for the audit period

of November 10, 2010 through June 30, 2011 Which consists of:

Principal contributions .......................................... $ 1 1,471.58
Liquidated damages ............................................... $2,223.00
/ Accumulated Penalties .............................................. $ 533.76
' Accumulated lnterest ............................................... $726.45
“ Audit Costs ...................................................... $600.00

Attorneys’ fees ................................................... $4,883 .75

 

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Costs ............................................................ $ 41 0.00
ln the event that this Company continues to operate, contributions together With remittance
reporting information must be paid to the Funds the month after the Work has been performed, and

this Company must show proof that it has obtained a surety bond in the amount of $5,000.

 

 

ENTERED
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